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  14                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15                                WESTERN DIVISION
                                                 Case No. 2:21-cv-04405-RGK-MAR
  16   PAUL SNITKO, JENNIFER
       SNITKO, JOSEPH RUIZ, TYLER                PLAINTIFFS’ RESPONSE TO
  17   GOTHIER, JENI VERDON-                     DEFENDANTS’ MOTION TO
       PEARSONS, MICHAEL STORC,                  DISMISS THE FIRST AMENDED
  18   and TRAVIS MAY,                           COMPLAINT FOR LACK OF
                                                 SUBJECT MATTER
  19                                 Plaintiffs, JURISDICTION AND FAILURE TO
                    v.                           STATE A CLAIM UPON WHICH
  20                                             RELIEF CAN BE GRANTED
                                                 PURSUANT TO FED. R. CIV. P.
  21   UNITED STATES OF AMERICA,                 12(b)(1) AND 12(b)(6)
       TRACY L. WILKISON, in her
  22   official capacity as Acting United        (Filed Concurrently with the
       States Attorney for the Central           Declaration of Jeni Verdon-Pearsons
  23   District of California, and KRISTI        and Proposed Order Denying
       KOONS JOHNSON, in her official            Defendants’ Motion to Dismiss)
  24   capacity as an Assistant Director of
       the Federal Bureau of Investigation,      Date: August 30, 2021
  25                                             Time: 9:00 A.M.
                                   Defendants. Courtroom: 850
  26                                             Judge: Hon. R. Gary Klausner
                                                 Trial Date: TBD
  27                                             Complaint Filed: May 27, 2021
                                                 Amended Complaint Filed: June 9, 2021
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   1   I.    INTRODUCTION
   2        Defendants (who, for ease of reference, are collectively referred to here as “the
   3   government”) offer a list of arguments why this case should be dismissed, but, at
   4   bottom, almost all these arguments suffer from a single flaw: The government
   5   glosses over the specific claims raised and remedies sought by the First Amended
   6   Complaint. The government seems to think that all Plaintiffs are really seeking is
   7   return of property. See, e.g., Doc. 62 (“Mot.”) at 7 (“Plaintiffs’ Counts all request
   8   their property be returned.”). But that is a gross misunderstanding: Count I seeks an
   9   order directing the government to destroy records made during its illegal search of
  10   Plaintiffs’ safe deposit boxes. And Counts II-VI allege violations of the Fourth and
  11   Fifth Amendments and seek relief—some of which this Court has already granted
  12   on a preliminary basis—directing government officials to follow the Constitution.
  13   To the extent that Counts II-VI seek return of property at all, they seek an order
  14   (akin to the one entered on behalf of Joseph Ruiz) directing the government to
  15   either comply with the Constitution or else give property back. Only Count VII
  16   actually raises a straightforward claim for return of seized property.
  17        The government’s inattention leads it into error. The government argues that
  18   the case is moot for those Plaintiffs who have recovered their property, but it
  19   ignores the fact that those Plaintiffs still have a live claim for destruction of records.
  20   The government argues that Plaintiffs have an “adequate remedy” in a hypothetical
  21   future judicial forfeiture case, but it ignores the fact that Plaintiffs’ claims could not
  22   be redressed in such a case. The government argues that the Court lacks jurisdiction
  23   under the Administrative Procedure Act and Declaratory Judgment Act but, in
  24   doing so, both mischaracterizes the claims and ignores cases holding that courts
  25   have broad authority to enjoin federal officials from violating constitutional rights.
  26   And the government argues that Plaintiffs do not state a claim on the merits under a
  27   theory that Plaintiffs have not pressed. When Plaintiffs’ actual claims are
  28   considered, the government’s arguments are without merit.
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   1   II.    BACKGROUND
   2         A.     U.S. Private Vaults.
   3         Plaintiffs in this case are all box holders at U.S. Private Vaults (“USPV”), a
   4   safe deposit box facility located in Beverly Hills. See Doc. 33 (“First. Am.
   5   Compl.”) ¶¶ 8-12. Paul and Jennifer Snitko stored personal effects in their safe
   6   deposit box, including copies of legal documents. Id. ¶ 8. Joseph Ruiz stored
   7   approximately $57,000 in cash. Id. ¶ 9. Tyler Gothier stored personal effects and a
   8   small amount of silver. Id. ¶ 10. Jeni Verdon-Pearsons and Michael Storc stored
   9   silver, approximately $2,000 in cash, and personal documents. Id. ¶ 11. And Travis
  10   May stored gold and approximately $63,000 in cash. Id. ¶ 12.
  11         Plaintiffs chose to hold their valued property at USPV because the business
  12   offered several advantages over traditional banks. Id. ¶ 18-28. Among other things,
  13   the unique design of USPV’s vault ensured that vault employees could not access
  14   the contents of the boxes, id. ¶ 21, and USPV also offered better hours of operation
  15   than most banks, id. ¶ 22. USPV gave every impression of being a legitimate
  16   operation, and it had been in business since 2011. Id. ¶ 25.
  17         B.     The USPV Raid.
  18         On March 9, 2021, the U.S. Attorney’s Office for the Central District of
  19   California indicted the USPV company. Id. ¶ 41. Then, on March 17, 2021, the
  20   government obtained a warrant to seize business property owned by USPV. Id.
  21   ¶ 44. The warrant authorized the FBI to seize USPV’s “business equipment,”
  22   including the “nests of safety deposit boxes and keys,” but specifically stated that
  23   the “warrant does not authorize a criminal search or seizure of the contents of the
  24   safety deposit boxes.” Id. ¶ 45 (emphasis added). The warrant application did say
  25   that the government would conduct a limited search of the boxes to “look for
  26   contact information or something which identifies the owner,” but stated that, under
  27   official FBI policies, the inspection should “extend no further than necessary to
  28   determine ownership.” Id. ¶ 48. The warrant likewise contemplated that, “in
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   1   accordance with their written policies, agents shall inspect the contents of the boxes
   2   in an effort to identify their owners in order to notify them so that they can claim
   3   their property.” Id. ¶ 49.
   4        On March 22, 2021, the FBI executed the seizure warrant. Id. ¶ 50. In doing
   5   so, the government broke open every box at USPV’s facility and emptied each box
   6   of its contents. Id. ¶ 54. The government labelled this search an “inventory,” but
   7   there was in fact no need to inventory the contents of the boxes; if the government
   8   had simply left the boxes in their initial (locked) state, the contents of the boxes
   9   would have been totally secure against theft and loss. Id. ¶¶ 53, 58.
  10        Although the government had represented in the warrant application that the
  11   search would “extend no further than necessary to determine ownership,” id. ¶ 48,
  12   the government continued with its search even after identifying box owners, id.
  13   ¶ 59. Boxes at USPV consisted of a plastic “sleeve” inside the exterior metal box,
  14   and many box holders (including several of the named Plaintiffs) placed a letter just
  15   outside the internal sleeve containing their contact information. Id. ¶ 60. If the
  16   government had complied with the representations in the warrant application, the
  17   government would have stopped the search as soon as it found those letters—
  18   preserving the internal sleeves in an unopened state. Id. ¶ 61. But the government
  19   did not do that, and instead the government broke open the internal sleeves and
  20   rifled through the contents. Id. ¶ 62. In doing so, the government opened sealed
  21   envelopes and made copies of personal documents in the boxes. Id. ¶¶ 62, 65.1
  22        At the same time, the “inventory” created by the government during this
  23   search also failed to describe the property with the detail that would be necessary to
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  25           The scope of the government’s search is illustrated by a filing in a related
       case, which contains stills from the video that agents made during the search. See
  26   Decl. of Benjamin N. Gluck, In re Search and Seizure of Box No. 8309 at U.S.
       Private Vaults, No. 21-cv-3554, Doc. 16 ¶¶ 11-16, 23-26 (July 9, 2021). The Court
  27   can take judicial notice of these and other public filings on a motion to dismiss. See,
       e.g., Martin v. Wells Fargo Bank, No. 17-CV-03425, 2017 WL 10605965, at *1
  28
       (C.D. Cal. Dec. 15, 2017).
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    1   actually protect against theft and loss. Id. ¶ 67. The government’s inventory
    2   described valuable property only in general terms, such as “misc. coins.” Id. In
    3   other words, the government took detailed records of facts (such as the contents of
    4   legal documents) that had no relation to any valid inventory search but did not
    5   record facts (such as the amount of valuable coins in a box) that would obviously be
    6   relevant to a legitimate inventory. Id. ¶¶ 65, 67-68. These actions show that the
    7   government’s inventory-search rationale was nothing more than a pretext for an
    8   unauthorized investigatory search. Id. ¶ 68.
    9        C.      The FBI’s Investigation.
   10        Following the seizure, the FBI posted a notice on the window at the USPV
   11   facility directing box holders to file a claim for their property using a form available
   12   at the FBI’s website. Id. ¶¶ 72-73. All of the named Plaintiffs in this litigation
   13   submitted claims to the FBI through this website. Id. ¶¶ 74, 76, 78, 80, 82.
   14        In response to claims submitted through the website, the FBI sent form emails
   15   to several of the named Plaintiffs assuring them that the agency would contact them
   16   within 30-60 days. Id. ¶¶ 75, 77, 81. The FBI also called several of the named
   17   Plaintiffs to ask for the number of their box. Id. ¶¶ 75, 81. When Jeni Verdon-
   18   Pearsons received a call asking for her box number, the agent placing the call told
   19   her the FBI was “busy” and that she should simply wait for an email from the FBI
   20   about her seized property. Id. ¶ 81.
   21        Rather than return this property, however, the FBI announced that it intended
   22   to investigate to determine if the property was legally earned. Id. ¶ 86. Specifically,
   23   in a filing in a related case, the government stated that, “[t]o distinguish between
   24   honest and criminal customers, the government must examine the specific facts of
   25   each box and each claim.” Gov’t Opp’n To Ex Parte Appl. for TRO, Doe v. United
   26   States, No. 21-cv-2803, Doc. 15 at 10 (Apr. 2, 2021). The FBI conducted this
   27   investigation even though the warrant specifically stated that it “does not authorize
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    1   a criminal search or seizure of the contents of the safety deposit boxes.” First Am.
    2   Compl. ¶¶ 45, 86.
    3         D.     The Government’s Forfeiture Proceedings.
    4        On May 20, 2021, the government sent an administrative forfeiture notice to
    5   attorneys for USPV, announcing that the government was commencing civil
    6   forfeiture proceedings against the contents of several hundred boxes containing
    7   over $85 million in cash along with unspecified amounts of other valuable property.
    8   Id. ¶¶ 87-88. This omnibus notice listed property from the boxes of Plaintiffs May,
    9   Ruiz, Verdon-Pearsons, and Storc. Id. ¶ 89. The government also sent individual
   10   notice letters to Plaintiffs May, Verdon-Pearsons, and Storc. Id. ¶ 90.2 All of these
   11   notices failed to identify the legal or factual basis for the seizure. Id. ¶¶ 92-95.
   12         E.     Proceedings To Date.
   13        Plaintiffs filed this case on May 27, 2021 and filed their First Amended
   14   Complaint on June 9, 2021. The First Amended Complaint seeks to represent a
   15   proposed class of “[a]ll renters of U.S. Private Vaults safe deposit boxes who (a)
   16   had property within their safe-deposit box seized by the federal government on or
   17   around March 22, 2021; and (b) have identified themselves to the FBI since the
   18   seizure.” First Am. Compl. ¶ 139. The First Amended Complaint also raises claims
   19   on behalf of two proposed subclasses, a “No Notice Subclass” consisting of class
   20   members who have not received notice that their case is the subject of a civil
   21   forfeiture action and a “Forfeiture Subclass” consisting of class members whose
   22   property is listed in an administrative forfeiture notice. Id. ¶¶ 140, 142.
   23        The Court entered a TRO on June 22, 2021, and converted that TRO to a
   24   preliminary injunction on July 16, 2021. Docs. 52, 58. The Court held that Plaintiffs
   25   were likely to succeed on their claim that the administrative forfeiture notices
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                The government did not send an individual notice letter to Joseph Ruiz.
   27   First Am. Compl. ¶ 91. In addition, although the notice sent to USPV’s attorneys
        indicated that the government was seeking to forfeit Travis May’s gold and cash,
   28
        the individual notice letter that he received only listed his cash. Id.
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    1   violated the Fifth Amendment, as the notices failed to state the factual and legal
    2   basis for the seizure, Doc. 52 at 4, and preliminarily enjoined the government from
    3   forfeiting the property of Plaintiffs Ruiz and May, Doc. 58 at 4-5.3
    4        Then, on July 23, 2021, the Court granted a second preliminary injunction
    5   holding that Joseph Ruiz was likely to prevail on his claim that the continued
    6   retention of his property violated the Fourth Amendment. Doc. 60. The Court
    7   directed the government to either release Joseph’s property or else articulate a basis
    8   for its continued retention. Id. at 8. The government initially responded with an
    9   affidavit that attempted to demonstrate probable cause based on information
   10   extracted from Joseph through the unlawful search and forfeiture proceedings. See
   11   Doc. 64-1. The government subsequently abandoned its attempt to forfeit Joseph’s
   12   property, but, in doing so, faulted Joseph for his “failure to . . . show that the funds
   13   were legitimately derived” after they were seized. Doc. 66 at 2.
   14        Notwithstanding the Court’s orders holding that the government must provide
   15   a factual and legal basis for its ongoing seizure of the property of USPV box
   16   holders, the government continues to hold property without articulating any such
   17   basis. Among other things, the government is still holding the property seized from
   18   Jeni Verdon-Pearsons and Michael Storc, and the government’s Motion to Dismiss
   19   states that “while [the government] expects to make a decision shortly whether a
   20   judicial forfeiture will be filed relative to [Jeni and Michael’s property], it has not
   21   currently done so.” Mot. 4:13-15.
   22        The First Amended Complaint alleges that numerous other USPV box holders
   23   are in the same situation as Jeni and Michael. First Am. Compl. ¶ 146.c. The
   24   government has also agreed to accept discovery relevant to the issue of class
   25   certification, and, on July 21, 2021, attorneys for Plaintiffs served the government
   26

   27         3
                The Court held that Plaintiffs Verdon-Pearsons and Storc were not entitled
        to preliminary injunctive relief “at this time” because they made “no showing that
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        their property faces any immediate threat of forfeiture.” Doc. 58 at 3-4.
                                                    6
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    1   with discovery designed to more precisely identify the number of USPV box
    2   holders whose property is still being held without explanation.
    3   III.    LEGAL STANDARD
    4          On a Rule 12(b)(1) motion to dismiss, the allegations in Plaintiffs’ complaint
    5   are taken as true. Whisnant v. United States, 400 F.3d 1177, 1179 (9th Cir.2005).
    6   After construing those allegations, the complaint should be dismissed only if: (1)
    7   the claim does not “arise under” federal law or the Constitution; (2) there is no case
    8   or controversy; or (3) the cause of action is not described in any jurisdictional
    9   statute. Baker v. Carr, 369 U.S. 186, 198 (1962). Likewise, this Court should reject
   10   the motion to dismiss under Rule 12(b)(6) if the complaint contains “sufficient
   11   factual matter, accepted as true, to state a claim to relief that is plausible on its
   12   face.” Bain v. California Tchrs. Ass’n, 891 F.3d 1206, 1211 (9th Cir. 2018)
   13   (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (marks omitted)).
   14   IV.     ARGUMENT
   15          Part A explains that this case is not moot given that Plaintiffs and others are
   16   still suffering from the government’s actions, including its continued retention of
   17   private records obtained through an illegal search. Part B explains that judicial
   18   forfeiture proceedings cannot provide an adequate remedy at law because no such
   19   proceedings exist and, even if they did, they could not afford the declaratory and
   20   injunctive relief that Plaintiffs seek here. Part C explains that the government’s
   21   arguments that this Court lacks jurisdiction under the Administrative Procedure Act
   22   (“APA”) and Declaratory Judgment Act (“DJA”) fail to wrestle with on-point
   23   Supreme Court and Ninth Circuit precedent, including cases holding that courts
   24   have inherent authority to enjoin federal officials from violating the Constitution.
   25   And Part D explains that all the claims in the First Amended Complaint state valid
   26   claims for relief under applicable precedent.
   27

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                                                     7
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    1         A.     The Complaint Is Not Moot.
    2        The Motion to Dismiss argues that this case is now moot for all Plaintiffs who
    3   have recovered their property or been told that their property will be returned. Mot.
    4   15-16. However, this argument ignores the specific relief sought with respect to
    5   each of the claims. Because mootness necessarily depends on those particulars,
    6   Plaintiffs analyze mootness claim-by-claim below.
    7                1.    Count I Presents A Live Case Or Controversy For All Named
    8                      Plaintiffs As Well As The Proposed Class.
    9        Count I challenges the government’s search of the contents of the USPV boxes
   10   under the Fourth Amendment, First Am. Compl. ¶¶ 152-71, and, as a remedy, seeks
   11   an order directing the destruction of records made during the search, id. ¶ 170. The
   12   Ninth Circuit approved precisely that remedy in United States v. Comprehensive
   13   Drug Testing, Inc., 621 F.3d 1162 (9th Cir. 2010) (en banc) (“CDT”), which held
   14   that, where “the government comes into possession of evidence by circumventing
   15   or willfully disregarding limitations in a search warrant, it must not be allowed to
   16   benefit from its own wrongdoing by retaining the wrongfully obtained evidence or
   17   any fruits thereof,” id. at 11744; see also United States v. Burum, 639 F. App’x 503,
   18   504 (9th Cir. 2006) (remanding for consideration of whether copies of seized
   19   documents should be ordered returned or destroyed). As noted infra p. 20, the
   20   Motion to Dismiss does not argue that Count I fails to state a claim for a violation
   21   of the Fourth Amendment, and the Motion also does not argue that this remedy
   22   should be unavailable in this case.
   23        Count I presents a live case or controversy for all of the Plaintiffs—and all
   24   members of the proposed class—whether their property has been returned or not.
   25         4
                 CDT was later overruled on a completely different issue—involving the
   26   jurisdictional nature of appellate deadlines—but remains good law on this point.
        See Demaree v. Pederson, 880 F.3d 1066, 1072 (9th Cir. 2018); see also Advisory
   27   In re Email Acct. xxxxxxx gmail.com, 33 F. Supp. 3d 386, 398 (S.D.N.Y. 2014)
        (citing CDT for the proposition that “district judges may order the return of any
   28
        copies of seized evidence” (marks and citation omitted)).
                                                  8
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    1   The government made a record of all the contents of the boxes, including making
    2   copies of personal documents inside the boxes. First Am. Compl. ¶¶ 62, 65. Thus,
    3   for instance, although the government has returned the property seized from Paul
    4   and Jennifer Snitko, “it now unreasonably possesses copies of personal documents
    5   and other records owned by” the Snitkos, and this “deprivation constitutes an
    6   ongoing injury.” Id. ¶ 120; see also id. ¶¶ 126, 130. Because Count I seeks
    7   destruction of those records, a favorable decision would redress a continuing injury
    8   and the claim accordingly is not moot. See, e.g., Koch v. Lockyer, 340 F. App’x
    9   372, 375 (9th Cir. 2009) (holding that Fourth Amendment claim challenging DNA
   10   collection was not moot and ordering government to “relinquish or destroy any data
   11   or information relating to or derived from [the plaintiff’s] DNA”).
   12                2.    Counts III, V And VI Present A Live Case Or Controversy As To
   13                      Plaintiffs Storc And Verdon-Pearsons And The Forfeiture
   14                      Subclass.
   15        Counts III, V, and VI raise Fourth and Fifth Amendment claims on behalf of
   16   Plaintiffs Storc and Verdon-Pearsons, as well as the proposed Forfeiture Subclass.
   17   First Am. Compl. ¶¶ 182-99, 208-19, 220-30.
   18        The government concedes that Plaintiffs Storc and Verdon-Pearsons continue
   19   to present a live case or controversy, see Mot. 15-16, and for good reason. Count III
   20   alleges that the government has not provided adequate notice of the basis for the
   21   ongoing seizure, and the government still has not told Jeni and Michael why it is
   22   holding their property. See Verdon-Pearsons Decl. ¶ 13.5 Count V alleges that the
   23   ongoing seizure violates the Fourth Amendment, and the government also
   24   continues to seize Jeni and Michael’s property. See id. ¶ 16. And Count VI alleges
   25   that the government is using the forfeiture process to extract information from box
   26   holders. See Doc. 64, 66. These claims are not moot. To the contrary, because the
   27         5
               The Court can consider a declaration from a plaintiff when adjudicating a
        motion to dismiss under Rule 12(b)(1). See Savage v. Glendale Union High Sch.,
   28
        343 F.3d 1036, 1039 n.2 (9th Cir. 2003).
                                                  9
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    1   government continues to hold Jeni and Michael’s property without telling them
    2   why, they should be entitled to the same relief that this Court recently ordered for
    3   Joseph Ruiz—i.e., an order directing the government to either return their property
    4   or else give them a reason why.6
    5                3.     Counts II And IV Present A Live Case Or Controversy With
    6                       Respect To The Proposed No Notice Subclass.
    7        Counts II and IV raise Fourth and Fifth Amendment challenges on behalf of
    8   the No Notice Subclass—i.e., individuals who have not been targeted for civil
    9   forfeiture. See First Am. Compl. ¶¶ 172-81, 200-07.
   10        While the government has said that it is returning the property of all Named
   11   Plaintiffs in the No Notice Subclass, the government cannot moot the claims of the
   12   subclass by “‘picking off’ the named plaintiffs.” Chen v. Allstate Ins. Co., 819 F.3d
   13   1136, 1143 (9th Cir. 2016); see also Pitts v. Terrible Herbst, Inc., 653 F.3d 1081,
   14   1084 (9th Cir. 2011). Rather, these Named Plaintiffs continue to have standing “to
   15   seek certification” on behalf of the proposed subclass. Chen, 819 F.3d at 1142.
   16   Plaintiffs have diligently pursued certification of the No Notice Subclass, and,
   17   while the Court so far has declined to certify absent proof of numerosity, see Doc.
   18   60 at 8, Plaintiffs have served the government with discovery to precisely ascertain
   19   the number of individuals remaining in the proposed class and subclasses. Plaintiffs
   20   expect to file a motion for class certification no later than August 25, 2021, and, if a
   21   class is certified, “certification [will] relate back to the filing of the complaint” and
   22   “the case may continue despite full satisfaction of the named plaintiff’s individual
   23   claim.” Pitts, 653 F.3d at 1091-92.
   24         6
                 The Court’s decision declining to include Jeni and Michael within its first
   25   preliminary injunction is not to the contrary. See Doc. 58 at 3-4. The Court held that
        Jeni and Michael had not made a showing that they were in imminent danger of
   26   losing their property to forfeiture—and thus did not need an injunction to preserve
        the status quo—but it remains the case that the government is holding Jeni and
   27   Michael’s property in a manner that violates their Fourth and Fifth Amendment
        rights. In other words, even if they would not benefit from the first preliminary
   28
        injunction, they would benefit from relief identical to that awarded in the second.
                                                    10
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    1                4.     Count VII Presents A Live Case Or Controversy With Respect
    2                       To Plaintiffs Verdon-Pearsons, Storc, Gothier, May, And Ruiz.
    3        Finally, Count VII raises individual claims for return of property under Rule
    4   41(g) on behalf of all the Named Plaintiffs. First Am. Compl. ¶¶ 231-41. This claim
    5   is plainly not moot for Plaintiffs Verdon-Pearsons and Storc, as the government
    6   concedes. Mot. 15-16. But, beyond that, this claim also remains live for Plaintiffs
    7   Gothier, May, and Ruiz, as their property has not yet been returned.7 The
    8   government cannot moot a claim for return of property by saying it will give the
    9   property back; the claim remains live until the property is returned.
   10         B.     Judicial Forfeiture Proceedings Do Not Provide An Adequate
   11                Remedy For The Constitutional Violations Alleged In The
   12                Complaint.
   13        The government also argues that this Court should dismiss because, in its
   14   view, Plaintiffs “can raise all the claims they assert here in any judicial forfeiture
   15   proceeding the government may file and they therefore have an adequate remedy at
   16   law.” Mot. 1; see also id. at 6-13. Like the mootness argument, this argument paints
   17   with a broad brush, stating that all of Plaintiffs’ claims should be dismissed because
   18   they all could be litigated in a hypothetical judicial forfeiture case. But again, a
   19   detailed claim-by-claim analysis shows that the government’s argument fails.
   20                1.     Count I Seeks Relief On Behalf Of Numerous Plaintiffs Who
   21                       Are Not Being Targeted For Forfeiture.
   22        Count I—which seeks destruction of records generated during the
   23   government’s illegal search—seeks relief on behalf of numerous Plaintiffs who will
   24   never be party to a judicial forfeiture proceeding. As explained above, supra pp. 8-
   25

   26
              7
                In the case of May and Ruiz, the government has apparently deposited the
   27   seized cash into the bank, and it may take significant time for government officials
        to authorize a wire transfer of substitute funds. In the case of Gothier, meanwhile,
   28
        the return has been delayed by scheduling difficulties.
                                                   11
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    1   9, this Count continues to present a live case or controversy for all the Named
    2   Plaintiffs, including those whose property has been returned.
    3        A judicial forfeiture case clearly cannot provide an adequate remedy for a
    4   claim raised on behalf of individuals who will never be parties to such a case; that
    5   would be like saying an individual cannot bring a false arrest claim because they
    6   could have litigated that issue in a criminal case that was never (and never will be)
    7   filed. Nor does the government’s conduct escape judicial review simply because the
    8   government has declined to seek judicial forfeiture. In CDT, the Ninth Circuit held
    9   that the government could be ordered to hand over records that it made during an
   10   unlawful search, and, unsurprisingly, nobody suggested that relief was somehow
   11   barred by some hypothetical nonexistent judicial forfeiture case. See 621 F.3d at
   12   1172-74. So too here. A judicial forfeiture proceeding cannot provide an “adequate
   13   remedy” for Plaintiffs who will never be parties to such a proceeding and who are
   14   seeking destruction of records generated during an unlawful search.
   15                2.     Counts II-VI Address Ongoing Constitutional Violations That
   16                       Could Not Be Redressed In Any Eventual Forfeiture Case.
   17        Counts II through VI raise claims under the Fourth and Fifth Amendments that
   18   seek to remedy the government’s conduct following the seizure of USPV box
   19   holders’ property. Again, this is relief that no forfeiture court could provide.
   20        This Court has already addressed several of these Counts and provided relief
   21   under them that could not be obtained in any judicial forfeiture case. See Doc. 52
   22   (granting TRO over forfeiture notice issue arising from Count V); Doc. 58
   23   (granting preliminary injunction regarding same); Doc. 60 (ordering government,
   24   consistent with Count II, to either return property or articulate independent
   25   justification for retention). These orders remedied violations of Plaintiffs’
   26   constitutional rights that—by their nature—necessarily preceded the filing of any
   27   hypothetical future judicial forfeiture complaint. None of this relief would be
   28   available in a judicial forfeiture case.
                                                   12
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    1        Indeed, Counts II through VI do not “all seek the return of property,” Mot. 10,
    2   as the government contends, and instead seek relief for ongoing violations of the
    3   Fourth and Fifth Amendments arising from the government’s raid and subsequent
    4   conduct. They seek conditional relief—akin to the conditional relief already granted
    5   on behalf of Joseph Ruiz—that would order property returned only if the
    6   government does not otherwise remedy the alleged constitutional violations. See
    7   Doc. 60 at 8.8 In other words, these Counts seek not the return of property, but,
    8   rather, a command that the government follow the Constitution when dealing with
    9   Plaintiffs and other class members. For that reason, the Court has granted Plaintiffs
   10   preliminary relief without directly ordering any property returned.
   11        Given this, the cases that the government cites to suggest that Plaintiffs could
   12   secure all the relief that they seek in forfeiture proceedings are specious. The
   13   government cites over a dozen cases—including the Ninth Circuit’s decisions in
   14   Elias and $83,310, as well as two In re Return of Seized Property decisions from
   15   the Central District—all of which involved a court refusing to entertain a claimant’s
   16   motion for return of property where a valid forfeiture proceeding had been
   17   initiated.9 These cases are all off base, as Plaintiffs here do not merely seek return
   18         8
                 The prayer for relief therefore seeks an injunction preventing Defendants
   19   from “[r]etaining property seized from USPV customers’ safe deposit boxes
        without stating a valid independent basis for its continued detention” (emphasis
   20   added); “[r]etaining property seized from USPV customers without notice or a
        prompt post-seizure opportunity to be heard” (emphasis added); and “[c]ompelling
   21
        USPV customers to provide testimony, or prove the legality of their seized
   22   property, in order to secure its return.”
               9
                 See United States v. Elias, 921 F.2d 870, 875 (9th Cir. 1990); United States
   23   v. U.S. Currency, $83,310.78, 851 F.2d 1231, 1235 (9th Cir. 1988); In Re Return of
        Seized Prop. (Jordan), 625 F. Supp. 2d 949, 955 (C.D. Cal. 2009); In Re Return of
   24   Seized Prop. (BoundlessRise, LLC), 17-cv-00771, 2017 WL 4180149, at *1 (C.D.
   25   Cal. Aug. 30, 2017); see also Linarez v. U.S. Dep’t of Justice, 2 F.3d 208, 213 (7th
        Cir. 1993); United States v. One 1987 Jeep Wrangler, 972 F.2d 472, 479 (2d Cir.
   26   1992); Abernathy v. Kral, 305 F. Supp. 3d 795, 797 (N.D. Ohio 2018); CFK, LLC
        v. United States, 324 F.R.D. 236, 238 (D. Utah 2018); Haltiwanger v. United
   27   States, 494 F. Supp. 2d 927, 930 (N.D. Ill. 2007); United States v. Voraveth, No.
        07-cr-419, 2008 WL 4287293, at *13 (D. Minn. July 1, 2008); $8,050.00 in U.S.
   28
                                                                                (continued…)
                                                   13
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    1   of property and, in any event, there are no valid forfeiture proceedings currently in
    2   place for any Plaintiff. The government says that it might file a judicial forfeiture
    3   case as to Jeni Verdon-Pearsons and Michael Storc at some future date, see Mot. 4,
    4   but for now the government has “suspended administrative forfeiture proceedings”
    5   against their property after receiving their claims, Doc. 55-1 at 4:3-6.
    6        And even if there were active and valid forfeiture proceedings underway,
    7   those proceedings would not be an “adequate remedy at law” since they could not
    8   provide the relief that Plaintiffs seek. A forfeiture court can, at most, order the
    9   government to return the res; it cannot order the kind of declaratory and injunctive
   10   relief that Plaintiffs ask for in Counts II-VI. Nor could Plaintiffs bring these Counts
   11   as counterclaims in a hypothetical forfeiture action, as courts in this district have
   12   held that a “[c]laimant [in a forfeiture proceeding] is not a defendant, and therefore
   13   has no basis to bring a counterclaim.” United States v. Various Rest. Furniture &
   14   Goods of Iranian Origin, No. 15-cv-259, 2016 WL 7496130, at *2 (C.D. Cal. Feb.
   15   8, 2016) (citation omitted). The only way to address these constitutional claims is
   16   through a separate action like this case.
   17        The government’s suggestion that this Court dismiss because a judicial
   18   forfeiture case would provide Plaintiffs with an “adequate remedy at law” is thus
   19   wrong twice over. No such case exists and, if it did, Plaintiffs could not obtain in
   20   such a case the relief that Counts II-VI seek.
   21                3.     Count VII, Under Rule 41(g), Also Is Not Barred.
   22        Finally, the government also asks that this Court dismiss Plaintiffs’ individual
   23   motions for return of property. As with the other arguments, the government
   24   Currency v. United States, 307 F. Supp. 2d 922, 926-27 (N.D. Ohio 2004); United
   25   States v. 2nd Amendment Guns, LLC, 917 F. Supp. 2d 1120, 1122 (D. Or. 2012);
        Baranski v. Fifteen Unknown Agents of ATF, 195 F. Supp. 2d 862, 868 (W.D. Ky.
   26   2002); United States v. U.S. Currency in the Amount of $146,800, No. 96-cv-4882,
        1997 WL 269583, at *5 (E.D.N.Y. Apr. 28, 1997). The decision in Lycurgan, Inc.
   27   v. Jones, No. 14-cv-1679, 2016 WL 8983006 (S.D. Cal. Jan. 27, 2016), meanwhile,
        simply declined to exercise equitable jurisdiction to order return of property the
   28
        government no longer possessed.
                                                    14
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    1   contends that this Court lacks jurisdiction over these motions because a forfeiture
    2   case would provide an adequate remedy at law.
    3        But, to again state the point, there is no such pending forfeiture case against
    4   any of the Plaintiffs’ property. Plaintiffs Gothier, May, and Ruiz have live claims
    5   under Rule 41(g), and the government says it will not seek to forfeit their property.
    6   And unless the government actually files a judicial forfeiture case against Jeni and
    7   Michael’s property, this Court can entertain their motion for return of property as
    8   well. The case law bears this out: In Linarez v. U.S. Dep’t of Justice, the Seventh
    9   Circuit held that once an administrative forfeiture proceeding has commenced, a
   10   “district court remains without jurisdiction over the forfeiture unless an interested
   11   party files a claim of interest.” 2 F.3d 208, 211 (7th Cir. 1993). And the Eighth
   12   Circuit likewise held that an administrative forfeiture proceeding may bar a Rule
   13   41(g) motion “unless the citizen complies with the [agency’s] administrative
   14   procedures to contest the forfeiture.” Muhammed v. DEA, 92 F.3d 648, 652 (8th
   15   Cir. 1996). Here, Jeni and Michael filed a valid claim, and the government thus
   16   acknowledges that it has “suspended administrative forfeiture proceedings.” Doc.
   17   55-1 at 4:3-6. There is accordingly no administrative forfeiture proceeding that
   18   could possibly interfere with this Court’s equitable jurisdiction.
   19        Should the government elect at some future point to file a judicial forfeiture
   20   case against Jeni and Michael’s property, the government can again argue that this
   21   Court should dismiss their 41(g) motion. But until such time, this Court should
   22   reject the government’s attempt to short circuit its equitable jurisdiction.
   23         C.     The Court Has The Necessary Authority To Remedy The Alleged
   24                Constitutional Violations.
   25        The government also argues that the Court cannot (or should not) provide a
   26   remedy for these constitutional claims under the APA and DJA. See Mot. 13-15,
   27   17-18. These arguments are ultimately irrelevant, as Ninth Circuit precedent
   28   demonstrates that this Court has broad equitable authority (even apart from the
                                                   15
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    1   APA) to enjoin federal officials from violating the Constitution. And, regardless,
    2   these arguments ignore analogous cases that have proceeded under the APA, which
    3   textually provides for judicial review of the government’s seizure and retention of
    4   property. See 5 U.S.C. § 704 (authorizing judicial review of final agency action); 5
    5   U.S.C. § 551(10), (13) (defining “agency action” to include a “sanction” including
    6   the “destruction, taking, seizure, or withholding of property”). Indeed, this Court
    7   has already implicitly held that Plaintiffs’ challenges under the Constitution and the
    8   APA are justiciable by granting preliminary injunctive relief.
    9                1.     The Court Has Inherent Equitable Authority To Enjoin Federal
   10                       Officials From Violating The Fourth And Fifth Amendments.
   11        Plaintiffs here have sued responsible federal officials in their official
   12   capacities seeking injunctive relief directly under the Constitution, and it is black
   13   letter law that courts have inherent equitable authority to adjudicate such claims:
   14   “The ability to sue to enjoin unconstitutional actions by state and federal officers is
   15   the creation of courts of equity, and reflects a long history of judicial review of
   16   illegal executive action, tracing back to England.” Sierra Club v. Trump, 929 F.3d
   17   670, 694 (9th Cir. 2019) (marks and citation omitted).
   18        The government’s contrary arguments here are strongly reminiscent of the
   19   ones that the government raised—unsuccessfully—before the Supreme Court in
   20   Free Enterprise Fund v. Public Company Accounting Oversight Board, 561 U.S.
   21   477 (2010), where it claimed the Court lacked equitable jurisdiction over
   22   petitioners’ action because they could raise their challenge by appealing from a
   23   Board sanction. The Court rejected the government’s argument in no uncertain
   24   terms, noting that “it is established practice for this Court to sustain the jurisdiction
   25   of federal courts to issue injunctions to protect rights safeguarded by the
   26   Constitution.” Id. at 491 n.2 (quoting Bell v. Hood, 327 U.S. 678, 684 (1946)).
   27        The Ninth Circuit also rejected similar arguments in Sierra Club, 929 F.3d
   28   670. In that case, public-interest organizations sought to enjoin construction of a
                                                   16
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    1   border wall under both the Constitution’s Appropriations Clause and the APA.
    2   When the government sought to stay a preliminary injunction on appeal, it argued
    3   that neither the Constitution nor the APA gave plaintiffs any sort of cause of action.
    4   But the Ninth Circuit disagreed, holding that plaintiffs could “bring their challenge
    5   through an equitable action to enjoin unconstitutional official conduct, or under the
    6   judicial review provisions of [the APA] as a challenge to a final agency decision
    7   that is alleged to violate the Constitution, or both.” Id. at 694. The Ninth Circuit
    8   stated that, while Congress can limit a Court’s equitable authority to enjoin
    9   constitutional violations, it must “demonstrate its intent by clear and convincing
   10   evidence,” id. at 697-98, and the government here does not even attempt to point to
   11   any statute or other legal authority that would demonstrate such intent.
   12        Further support for this Court’s equitable jurisdiction—in a context
   13   remarkably similar to this case—can be seen in CDT, 621 F.3d 1162. There, the
   14   government executed a search warrant in an overbroad manner, leading to it
   15   acquiring hundreds of records not authorized by that warrant. When a drug testing
   16   company and baseball players’ union brought an equitable Fourth Amendment
   17   challenge, the Ninth Circuit exercised its equitable jurisdiction and affirmed the
   18   district court’s injunction ordering the government to return copies of the
   19   improperly seized records, which, as explained above, is the exact relief that
   20   Plaintiffs here seek in Count I of the First Amended Complaint. Sierra Club and
   21   CDT both confirm that this Court may act under its own equitable authority in
   22   considering Plaintiffs’ constitutional challenge.
   23                2.     The Court Can Separately Provide Relief Under The
   24                       Administrative Procedure Act.
   25        Even apart from the above, Plaintiffs may also raise their constitutional
   26   challenge via the APA, as Sierra Club again demonstrates. 929 F.3d at 698 (citing
   27   Webster v. Doe, 486 U.S. 592, 602–04 (1988) (holding “that a constitutional claim
   28   [under the APA] may be reviewed by the District Court”)). In Sierra Club, the
                                                   17
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    1   Ninth Circuit held that “[p]laintiffs have a cause of action under the APA as long as
    2   there has been final agency action, and as long as Congress has not limited review
    3   of such actions through other statutes or committed them to agency discretion.” 929
    4   F.3d at 698. Here, the search and seizure of Plaintiffs’ property is a final agency
    5   action, and agencies do not have any discretion to violate the Fourth and Fifth
    6   Amendments.
    7        In fact, the Ninth Circuit allowed such claims to proceed under the APA in
    8   Gete v. INS, 121 F.3d 1285 (9th Cir. 1997), one of the key authorities that Plaintiffs
    9   have relied on in this case. Like Plaintiffs here, the plaintiffs in Gete invoked the
   10   APA to challenge the government’s promulgation of anemic forfeiture notices
   11   under the Fourth and Fifth Amendments. The government sought to dismiss the
   12   APA claims, arguing that the INS’ administrative forfeiture decisions were matters
   13   generally left to the agency’s discretion. But the Ninth Circuit rejected the
   14   argument, noting that the plaintiffs were not seeking review “of the merits of any
   15   particular agency decision; instead, they challenge the INS’ forfeiture process
   16   itself,” and that a long line of authority authorized courts to entertain such
   17   challenges under the APA. Id. at 1291. So too here.
   18        Other cases likewise hold that searches and seizures constitute “final” agency
   19   action reviewable under the APA. See Kidd v. Mayorkas, No. 20-cv-03512, 2021
   20   WL 1612087, at *8 (C.D. Cal. Apr. 26, 2021) (holding that use of ruses to gain
   21   entry to people’s homes, thereby violating the Fourth Amendment, constituted
   22   “final agency action”); Amadei v. Nielsen, 348 F. Supp. 3d 145, 166 (E.D.N.Y.
   23   2018) (holding that searching plaintiffs disembarking from plane was a “final
   24   agency action”). That makes sense, as a search and seizure is a government action
   25   that has “a direct and immediate effect on the day-to-day business of the
   26   complaining parties.” Mt. Adams Veneer Co. v. United States, 896 F.2d 339, 343
   27   (9th Cir. 1989). Indeed, if there could be any doubt on that score, the APA itself
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        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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    1   defines “agency action” to include a “seizure” of property. 5 U.S.C. § 551(10), (13).
    2   The text of the statute itself thus refutes the government’s contrary view.
    3        The government gives no reason to depart from these cases. It cites to cases in
    4   which courts rejected APA challenges under either the finality or “committed to
    5   agency discretion” criteria, but it never explains how those criteria block the
    6   particular claims in this case. In particular, the government repeatedly cites City of
    7   Oakland v. Lynch, in which the Ninth Circuit rejected Oakland’s attempt to use the
    8   APA to enjoin the government from proceeding with a previously filed judicial
    9   forfeiture case. 798 F.3d 1159, 1165 (9th Cir. 2015). But Plaintiffs are not trying to
   10   enjoin any validly initiated judicial forfeiture case; as noted above, no such case has
   11   been filed. Plaintiffs instead seek to order the government to, among other things,
   12   destroy copies of documents and records that it made during its criminal search.
   13   That this relief would be unavailable from any forfeiture court is notable: As the
   14   Ninth Circuit noted in City of Oakland, “[w]hen a statute is not addressed to the
   15   type of grievance which the plaintiff seeks to assert, then the statute cannot prevent
   16   an APA suit.” Id. at 1166.
   17                3.     The Court Should Also Exercise Jurisdiction Under The
   18                       Declaratory Judgment Act.
   19        Lastly, there is no basis for the government’s argument that this Court should
   20   refrain from deciding Plaintiffs’ claims under the DJA. The government’s argument
   21   on this front boils down to the idea that because some of these issues could
   22   potentially be raised in a hypothetical forfeiture proceeding, this Court should
   23   remain silent. See Mot. 18 (“All of plaintiffs’ requests for declaratory relief . . . can
   24   properly be raised in any civil forfeiture action the government files.”). But as
   25   Plaintiffs discuss above, this ignores two basic realities: First, the government has
   26   not filed (and may never file) such a case. And second, even if Plaintiffs could
   27   litigate and prevail in a forfeiture proceeding, they would not receive the full scope
   28   of relief that they seek here. After all, the most a forfeiture court could order is that
                                                    19
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    1   Plaintiffs’ property be returned to them; it could not order the government to
    2   destroy copies of records made during its raid or provide any of the other
    3   declaratory and injunctive relief that Plaintiffs are seeking here.
    4         D.     The Complaint States A Claim On The Merits.
    5        Finally, the government’s motion does not really dispute that the First
    6   Amended Complaint states a claim on the merits. The motion hardly raises any
    7   12(b)(6) arguments at all; the one such argument that the motion does raise is
    8   addressed to an argument that Plaintiffs are not actually pursuing.10
    9        The government’s only argument on the merits is that Counts IV and V do not
   10   state a claim to the extent that they contend that due process requires a prompt post-
   11   seizure hearing. See Mot. 16-17. But as this Court recognized in granting a TRO,
   12   the thrust of these Counts is that the government’s failure to notify Plaintiffs and
   13   other class members of the factual and legal bases for why the government
   14   continues to retain their property violates procedural due process. Because Counts
   15   IV and V both state valid claims as to notice, the government’s entire discussion
   16   regarding prompt post-seizure hearings is beside the point.
   17   V.    CONCLUSION
   18        For the foregoing reasons, the motion to dismiss should be denied.
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                  Presumably, the government does not challenge the merits because each of
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        the Counts applies established law. Count I states a plausible claim for an illegal
   22   search under the Fourth Amendment and seeks a remedy (destruction of records)
        that the Ninth Circuit approved in CDT, 621 F.3d at 1174. Counts II and III state a
   23   claim under Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017), which this Court
        found sufficient to warrant entry of a preliminary injunction for Joseph Ruiz.
   24   Counts IV and V state a claim under Gete, 121 F.3d 1285, which this Court found
   25   sufficient to warrant entry of a TRO and preliminary injunction. And Count VI
        states a claim under the Fifth Amendment right to be free from self-incrimination,
   26   which this Court recently found applicable in a related case. See Order Denying
        Motion to Dismiss, Coe v. United States, 21-cv-3019, Doc. 49 (C.D. Cal. July 23,
   27   2021) (holding that government’s attempt to compel box holders to identify
        themselves implicates the “right to be free from unreasonable seizures and from
   28
        self-incrimination”).
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